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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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SYED NAQVI ON BEHALF OF THE
SYED NAQVI ROLLOVER IRA
ACCOUNT and PATRICK WALSH
ON BEHALF OF THE PATRICK J.
WALSH ROLLOVER IRA
ACCOUNT,

Plaintiffs,
v.

cITIBANK N.A.; cITIBANK (WEST)
F.S.B._ and DQES 1 through 20,
mcluslve,

Defendants.

 

 

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CASE NO. 2:10-cv-03301 JHN-AJWX
[Hon. Jacqueline H. Nguyen]

NOTICE OF MOTION AND MOTION
BY DEFENDANTS CITIBANK,
N.A.,AND CITIBANK WEST F.S.B
FOR SUl\/[MARY JUD I\/IEN OR, IN
THE ALTERNATIVE, SUMMARY
ADJUDICATION OF CLAIMS;
MEMORANDUM OF POINTS AND
AUTHORITIES; DECLARATIONS
OF TRICIA L. LEGITTINO,
IS-IAROON AMINI AND DR. ANIL V.

Date: A ril 11, 2011
Time: 2: 0 p.m.
Ctrm: 790

SEPARATE STATEMENT OF
C_ONTROVERTED FACTS AND
CONCLUSIONS OF LAW FILED
CONCURRENTLY HEREVVITH]

DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

FRANDzz-:L RoBle BLOOM § CSATO, L.C.

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DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

 

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DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

 

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DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

 

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NOTICE OF MOTION

TO TI-IE PARTIES HERETO AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on April 11, 2011, commencing at 2:00 p.m.,
or as soon thereafter as the parties may be heard, in Courtroom 790 of the above-
entitled Court located at 255 East Temple Street, Los Angeles, California defendants
Citibank, N.A. and Citibank (West) F.S.B (collectively "Citibank") Will move for
summary judgment in favor of Citibank and against plaintiffs, Syed Naqvi on behalf 1
of the Syed Naqvi Rollover IRA account ("Naqvi") and Patrick Walsh on behalf of
the Patrick J. Walsh Rollover IRA account ("Walsh" and collectively With Naqvi
"Plaintiffs") on the Plaintiffs' Complaint (the "Cornplaint"). Alternatively, Citibank
W_ill move for summary adjudication in favor of Citibanl< and against the Plaintiffs

With respect to the following matters:

1. The first claim for relief in the Complaint has no merit and should be
dismissed l

2. The second claim for relief in the Complaint has no merit and should be
dismissed

3. The third claim for relief in the Complaint has no merit and should be
dismissed

4. The fourth claim for relief in the Complaint has no merit and should be
dismissed

5. The fifth claim for relief in the Complaint has no merit and should be
dismissed

6. The sixth claim for relief in the Complaint has no merit and should be
dismissed

7. The seventh claim for relief in the Complaint has no merit and should

be dismissed
8. The eighth claim for relief in the Complaint has no merit and should be

dismissed

 

 

2
DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

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9. The ninth claim for relief in the Complaint has no merit and should be
dismissed

The motion is made pursuant to F ederal Rules of Civil Procedure ("FRCP"),
Rule 56, on the grounds that there is no merit to the Plaintiffs' claims. The motion
will also be based on this notice, the accompanying memorandum of points and
authorities and declarations of Tricia L. Legittino, Haroon Amini and Dr. Anil' V.
Shah as well as the Separate Statement filed and served concurrently herewith, the
pleadings, documents and records on file in this action, and on such oral or
documentary evidence as may be introduced at the hearing on the motion.

This motion is made following the conference of counsel pursuant to L.R. 7-

3, which took place on March 3, 2011.

DATED: March 1 1, 201 1 FRANDZEL ROBINS BLOOM &

CSATO, L.C.
By: /s/

 

TRICIA L. LEGITTINO
Attorneys for Defendants Citibank, N.A.
and Citibank (West), F.S.B.

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3
DEFENDANTS' MOTION FOR SUMMARY IUDGMENT/ADIUDICATION

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES

Defendants Citibank, N.A. and Citibank (West) F.S.B (collectively
"Citibank") respectfully submit their memorandum of points and authorities in
support of their motion for summary judgment or, in the alternative, summary
adjudication

1
INTRODUCTION

In 2004 and 2005 Plaintiffs Sayed Naqvi ("Naqvi") and Patrick Walsh
("Walsh"), both of whom are sometimes hereinafter referred to as "Plaintiffs,"
invested hinds from their IRA accounts in a company called Orange County
Physicians Investment Network, LLC ("OCPIN"). Plaintiffs claim that their
investments turned out to be worthless In a fit of buyers' remorse, Plaintiffs have
sued Citibank in a misguided attempt to recover their losses.

Citibank is not responsible for Plaintiffs' losses. Plaintiffs liquidated their
IRAs at other financial institutions and claim they "rolled over" the funds into new
IRA accounts at Citibank. But these claims are refuted by two indisputable facts.
First, Naqvi never opened an IRA account at Citibank in 2004 or 2005. Although
Walsh may have given some thought to opening an IRA account at Citibank in
2005, it is clear that he never actually did so. Second, Naqvi and Walsh specifically
deposited the money from their liquidated IRA accounts at the other financial
institutions directly into OCPIN's account at Citibanl<, not to any new IRA accounts
in their names at Citibank. Citibank never assumed responsibility for those funds on
behalf of Naqvi or Walsh as an IRA custodian or in any other capacity.

Moreover, Citibank did not mislead Naqvi or Walsh into investing in OCPIN.
Naqvi and Walsh did so based on their own investigation of OCPIN and with their 1
eyes wide open. Indeed, Naqvi was an insider of OCPIN as one of the founding
members of the company and an active manager of the company. Walsh decided to

invest in OCPIN based on his own investigation of the company and not on anything
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4
DEFENDANTS' MOTION FoR sUMMARY JUDGMENT/ADJUDICATION

 

 

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said by Citibank. lndeed, he contractually bound himself to make the investment in
OCPIN without any advice or input from Citibank. If Walsh wanted to know about
C)CPIN, all he had to do was refer to all of the disclosure statements that OCPIN
made available.

Plaintiffs have asserted a variety of legal theories in their Complaint, but none
of them have a basis in fact or law. Summary judgment should therefore be entered
in favor of Citibank. If summary judgment cannot be had for any reason, Citibank
respectfully submits that the Court should summarily adjudicate the claims
described below in favor of Citibank.

II
STATEMENT OF FACTS

The crux of the Plaintiffs' Complaint centers on their investments in OCPIN.
OCPIN is a Nevada limited liability company that was created in early 2004 during
a lunch time conversation between long time physician colleagues, Naqvi and Dr.
Anil Shah ("Shah"). See, the accompanying proposed separate statement of
uncontroverted facts and conclusions of law filed concurrently herewith (the
"Separate Statement"), 111. Shah told Naqvi he had heard that Tenent Healthcare
Corporation ("Tenent") was going to sell four hospitals it owned in Orange County,
including Coastal Communities Hospital’ in Santa Ana ("Coastal"), which was
among the hospitals at which both Shah and Naqvi practiced1 Separate Statement,
113. The two physicians began to discuss Whether it would be possible for them,
along with some of their doctor colleagues, to raise enough money to purchase
Coastal_. Separate Statement, 114. Naqvi and Shah discussed their displeasure with

the way Coastal was being managed They believed Coastal had poor infrastructure

 

l In approximately January 2004, Tenent announced that it was going to sell
the following four hospitals: Western Medical Center-Santa Ana; Western Medical
Center-Anaheim; Coastal Communities Hospital, Santa Ana; and Chapman Medical
Center in Orange. Separate Statement, 112
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DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

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and that they could manage the facility more efficiently. Separate Statement, 115.

Over the next several weeks, Naqvi and Shah approached several of their
physician friends and raised $5 million. Naqvi contributed $500,000. Separate
Statement, 116. Informally calling themselves the Coastal Communities Hospital
Physicians investment Group ("CCPIG"), this investor group approached Tenent
with a $5 million offer to purchase Coastal. Tenent refused to sell only one of the
hospitals but indicated that it would sell all four hospitals as a package Separate
Statement, 117.

Naqvi, Shah and the other members of the CCPIG investor group decided to
form an entity to raise the funds to purchase all four hospitals. Separate Statement,
1118,9. Their plan was to form a limited liability company, which would purchase
the majority of shares of lntegrated Healthcare Holdings, Inc. ("IHHI"). IHHI was
the front runner in the bidding for the hospitals. Separate Statement, 1110.

To accomplish this plan, Shah, Naqvi and the other CCPIG investors became
the founding members of OCPIN. The $5 million they had already raised to
purchase Coastal as CCPIG was contributed to OCPIN. Separate Statement, 111 1.
On November 25, 2004, the OCPIN members, including Naqvi, adopted an
operating agreement for OCPIN. Separate Statement, 1112. On January 5, 2005,
Shah filed articles of organization with the Nevada Secretary of State and officially
formed OCPIN. The company's headquarters were located at 2621 Bristol Street,
Santa Ana, California. Separate Statement, 1113.

OCPIN entered into an agreement with IHHI to purchase IHHI stock for $30
million. This transaction would result in OCPIN acquiring 83.07% of IHHI, and the
hospitals would then be managed by IHHI. Separate Statement, 1114. As part of this
transaction, West Coast Holdings, LLC ("WCH"), another limited liability company
in which the OCPIN investors, including Naqvi, had a 51% interest, would acquire
the real estate affiliated with the four hospitals. Separate Statement, 1[14.

In or about January 2005 the members of OCPIN contributed an additional $5
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6
DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

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million to OCPIN's capital. Naqvi contributed an additional 8500,000 through an
investment group called "OC Healthcare," of which he was a member and co-
manager. Separate Statement, 1115. Thus, as of January 2005, the members of
OCPIN had raised $10 million of the $30 million needed to purchase the IHHI
stock.

In order to raise the remaining $20 million, OCPIN obtained a loan from
Medical Capital (personally guaranteed by Shah). Separate Statement, 1115. The
founding members of OCPIN (including Naqvi) sought new investors to repay the
Medical Capital loan. Separate Statement, 1115. OCPIN provided potential
investors with appropriate disclosure documents (the "Investor Disclosure
Documents"), which advised them of the nature of the investment in OCPIN and the
risks associated therewith, and obtained from the investors background information
and representations Separate Statement, 1116. The lnvestor Disclosure Documents
were prepared by counsel for OCPIN and were approved by its members, including
Naqvi. The Investor Disclosure Documents included a Subscription Agreement, a
Subscription Document, a Private Placement Memorandum, a Hospital Acquisition
Transaction Summary, and a Membership Interest Purchase Agreement. Separate
Statement, 1117.

On March 2, 2005, Shah and Naqvi opened a business checking account (the
"OCPIN Account") for OCPIN at Citibank's South Coast Plaza branch located at
695 Town Center Drive, Costa Mesa, California (the "Town Center Branch").
Separate Statement, 1119. GCPIN chose to open an account at the Town Center
Branch because it was close to OCPIN's headquarters Separate Statement, 11 20-21.
Naqvi had signatory rights to the OCPIN Account since he was a core member of

OCPIN and was involved in the daily transactions of the company. Separate

, Statement, 1122. As new investors signed up, their funds were deposited into the

OCPIN Account. Separate Statement, 1123. 40n November 1, 2005, Naqvi as a co-

manager of OCP-IN, wrote a check from this account for $2.8 million to purchase
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7
DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

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additional IHHI shares Separate Statement, 1124. »

In March 2005 , OCPIN hired Richard Carpe ("Carpe"), a CPA, to manage the
company's books and records Separate Statement, 1125. Carpe took his directions
from the OCPIN board and managers and was tasked with creating records to keep
track of the investors' accounts in OCPIN. Separate Statement, 1126. Carpe created
detailed reports and spreadsheets using Quicken software to record and track
investors' accounts at OCPIN. Separate Statement, 1127.

A. Naqvi's Investment in UCPIN

By early 2005 Naqvi had invested $1 million in OCPIN in two separate
$500,000 tranches. Separate Statement, 1128 The first tranche was invested in mid-
2004 through OCPIN's predecessor, CCPIG, and was rolled into OCPIN when it
was formed Separate Statement, 1128. The second tranche came several months
later through Naqvi's other limited liability company,i OC Healthcare. Separate
Statement, 1128

The allegations in this case concern only $l40,000 of the second tranche.
Separate Statement, 1129. Naqvi claims that in late 2004 or early 2005 he "rolled
over" $140,000 from an IRA account at Putnam Investments ("Putnam") to an IRA
account that, allegedly, had been established for him at Citibank. Separate
Statement, 1130.2

Documents produced by Naqvi show that he took $99,188.47 in "early
distributions" from his Putnam IRA account in September 2004. Separate
Statement, 11 32. The subscription agreement Naqvi signed with OCPIN in
November 2004 shows that he invested $500,000 in the company. However, neither

Citibank nor Naqvi have any record of an IRA account being opened for him at

 

2 Sometime after he invested, Naqvi approached Carpe and requested that
$140,000 of his total investment in OCPIN be credited to an account which he
requested be entitled, "Naqvi IRA". Separate Statement, 1131.

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DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

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Citibank in 2004 or 2005.3 Separate Statement, 111133-34.

Naqvi alleges that he relied on the advice of Citibank employees Brian
Kenney ("Kenney") and Amir Masliyah ("Amir") to invest the $140,000 in OCPIN. 1
Complaint 11 36. But Naqvi could not recall at his deposition any actual investment
advice he received from either of these employees Separate Statement, 1136. Naqvi
admitted that he did not seek investment advice from Citibank. The only reason
Naqvi claims to have gone to Citibank was to rollover his IRA from Putnam into an
IRA at Citibank. Separate Statement, 1137. Naqvi has admitted that by the time 'he
went to Citibank to rollover his Putnam IRA, he had already made the decision to
invest in OCPIN. Separate Statement, 1138. Naqvi based this decision on his
conversation with Shah and on his own personal belief that OCPIN was a "good
investmen ." Separate Statement, 1139. This personal belief was based on his
experience _as an active member of OCPIN in 2004 and by 2005 his position on its
board of directors and as one of the company's managers Separate Statement, 1140.

B. Walsh'S Investment in OCPIN

At the time of his investment in OCPIN, Walsh was a physician practicing out
of Western Medical in Anaheim ("Western"), one of the four hospitals Tenet
announced for sale in January 2004. Separate Statement, 11112;41. lt is undisputed
that Walsh did not have an IRA or any other account at Citibank as of August 2005.
Separate Statement, 1142.

Walsh invested 83 00,000 in OCPIN in two installments Separate Statement,
1143. The first installment of $278,767.99 was wired into the OCPIN Account on or
about Augu`st 2, 2005 , from the Vanguard Group ("Vanguard") after Walsh

 

3 While Citibank cannot locate an IRA being opened for Naqvi in 2004 or
2005, it did determine that as of December 31, 2005, Naqvi had other non-IRA
accounts which he had opened and maintained at other Citibank branches During
his deposition, Naqvi confirmed the existence of these non-IRA Citibank accounts
and that they are not the subject of this lawsuit. Separate Statement, 1135.~

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liquidated his Vanguard IRA accounts Separate Statement, 1143. The second
installment of $21,232.01 was made on October 18, 2005, when Walsh's wife,
Anna, wrote a check to OCPIN from their personal checking account at Wells Fargo
(the "Wells Fargo Check").4 Separate Statement, 1143.

Walsh alleges that he based his decision to invest in OCPIN on
recommendations he received from Amir and Kenney. Complaint, 1111 35-37, 39.
However, when he testified under oath at his deposition, Walsh admitted that he
actually made the decision to invest in CCPIN before he or his wife ever spoke to
anyone at Citibank. Separate Statement, 1148. In fact, before Walsh sent his wife to
Citibank on August 1, 2005, to "do the legwork" to open an IRA account so he
could "roll over" his E-Trade and Vanguard IRAs to Citibank, he had already had
two separate conversations with a physician colleague at Western. Separate
Statement, 1149. This doctor, who was the first person ever to mention OCPIN to
Walsh, explained several ideas he had about "how the hospital could be made more
profitable, so the investment didn't look as unattractive as it first seemed" Separate
Statement, 1150. The only other person with whom Walsh discussed a potential
investment in OCPIN was his wife.5 Separate Statement, 1151. Walsh admitted at
his deposition that he did not speak with anyone at Citibank prior to making his
decision to invest in OCPIN. Separate Statement, 1152.

Walsh was in contact with Carpe before Walsh went to Citibank. Separate

 

4 While Walsh liquidated an IRA he had at E-Trade Financial ("E-Trade") in
October 2005 , neither Walsh nor his wife Anna could confirm that the source of the
funds for the Wells Fargo Check was from Walsh's E-Trade IRA. Separate
Statement, 1144.

5 Mrs. Walsh, who has a background as a part-time realtor, interior decorator
and sometime'manager of her husband's medical practice, testified at her deposition
that because she is not a physician she, "...really wouldn't know anything about this
as far as hospital investments, so I would have to refer to my husband If he believed
it was safe, I 1sic1 would have been safe but I don't know." Separate Statement,
111145;46.

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Statement, 1153. On July 29, 2005, Carpe faxed Walsh copies of the Investor
Disclosure Documents, including the Hospital Acquisition Transaction Summary
and a blank OCPIN and WCH Membership Interest Purchase Agreement. Separate
Statement, 1153. The Hospital Transaction Summary explained to Walsh the nature
of the investment in OCPIN and how an investment in OCPIN would be
apportioned with WCH. Separate Statement, 1154. The Membership Interest
Purchase Agreement set forth the terms and conditions for an investment in CCPIN.
Separate Statement, 1155. The very first page of the Membership Interest Purchase
Agreement specifically states that "OCPIN and Purchaser agree that the payment to
OCPIN will be deposited in the General Account of OCPIN at Citibank (West)
FSB." [Emphasis added.] Separate Statement, 1156. Walsh signed and sent the
Membership Interest Purchase Agreements back to Carpe, thereby acknowledging
his understanding and agreement that Walsh's funds would be deposited into the
OCPIN Account and not his personal IRA account. Separate Statement, 1157. In
fact, Walsh testified that when he did meet Amir and Kenney on August 3, 2005
(five days after he signed the OCPIN Membership Interest Purchase Agreement) he 11
did not even discuss his investment in OCPIN with them, and they did not tell him
an investment in OCPIN was "suitable." Separate Statement, 1158.

On July 30, 2005, Carpe sent an email to Walsh explaining that Walsh's IRA
would be established at OCPIN and that the funds he was investing "will be made
payable to . . . OCPIN . . ." and " . . . will be deposited at Citibank (West) FSB."
Separate Statement, 1159. The next day, Carpe sent Walsh specific wiring
instructions and directed that funds be wired directly into the OCPIN Account.
Separate Statement, 1160. Walsh complied with these instructions On July 31,
2005, Walsh used the wire instructions he received from Carpe as a template to fill
out an E-Trade "Request to Wire Funds," and directed that his liquidated E-Trade
IRA account be wired directly into the OCPIN Account Separate Statement, 1161.

Like Naqvi, Walsh has been unable to produce any document to establish that
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he opened an IRA at Citibank in August 2005 . Separate Statement, 1162. Although
Walsh claims that either Amir or Kenney gave him a Citibank IRA Transfer and
Direct Rollover Form ("Rollover Form"), he admits he never filled out or signed an
actual IRA Application which the Rollover Form states must be completed and
returned to Citibank in order to open an IRA. Separate Statement, 1163. Other than
the Rollover Form, Walsh does not recall receiving, and has certainly never
produced, any other document from Citibank memorializing the alleged IRA
account he claims to have opened in August 2005. Separate Statement, 1164.
111
TI-IE COURT MAY GRANT SUl\/Il\/lARY JUDGMENT AS TO ALL OR PART
OF TI-lE PLAINTIFFS' CLAIMS

A motion for summary judgment provides a procedure for terminating
without trial actions in which there is no genuine issue as to any material fact and
the moving party is entitled to judgment as a matter of law. FRCP 56(c)(2). A
motion for summary judgment pierces the pleadings and puts the opponent to the
test of affirmatively coming forward with sufficient evidence for the claims or
defenses to create a genuine issue for trial. Celoiex Corporation v. Caz‘rett, 477 U.S.
317, 325, 106 S.Ct. 2548, 2554 (1986).

Summary judgment may be granted if there is no genuine issue as to any
material fact. FRCP 56(0)(2). A fact is "material" if it might affect the outcome of
the suit under the governing substantive law. A factual dispute is "genuine" where
the evidence is such that a reasonable jury could return a verdict for the party
opposing the motion. Andersorz v. Liberly Lobby, Inc., 477 US 242, 248, 106 S.Ct.
2505, 2510 (1986).

Courts also have the authority to grant motions for partial summary judgment
Upon a showing that there is no genuine issue of material fact as to particular issues,
the court may grant summary judgment as to all or part of those issues FRCP 56(a),
(b); Barker v. Norman, 651 F.2d 1107, 1123 (Sth Cir. 1981) (in cases involving

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multiple causes of action, summary adjudication may be proper "as to some causes
of action but not as to others, or as to some issues but not as to others, or as to some
parties, but not as to others"); Robi v. Five Platters, Inc., 918 F.2d 1439, 1441-1442
(9th Cir. 1990) (summary adjudication of issues permitted based on collateral
estoppel effect of prior proceeding). l
ln diversity cases, the state law creating the right sued upon governs issues
such as the elements of the cause of action, measure of damages and applicable
defenses Bank of California, N.A. v. Opie, 663 F.2d 977, 980 (9th Cir. 1981).
IV
CITIBANK IS ENTITLED TO A JUDGMENT AS A MATTER OF LAW ON
PLAINTIFFS' BREACH OF CONTRACT CLAIMS6

A cause of action for breach of a written contract requires proof of: (1) the

 

existence of a contract; (2) the plaintiffs performance of the contract; (3) the
defendant's breach; and (4) damages to the plaintiff as a result of the breach. Corzder
v. Home Savirzgs of America, 680 F. Supp. 2d 1168, 1174 (C.D. Cal. 2010)
(dismissing plaintiffs breach of contract claim because of lack of evidence that a
contract was entered into with the defendant). It is, of course, basic hornbook law
that the existence of a contract is a necessary element to an action based on contract
Roth v. Malson, 67 Cal. App. 4th 552, 557 (1998). Whether a contract is sufficiently
definite to be enforceable is a question of law for the Court to decide, Ersa Gae
Corp. v. Fluor Corp.'l Cal. App. 4th 613, 623, (1991) .

Plaintiffs allege in the Complaint that, "At the time each of the plaintiffs
opened the accounts described above with the defendants a contract was formed .."
Complaint, 11 121. ln their responses to form interrogatories, Plaintiffs confirm that

the "contract" alleged in the Complaint was a written contract, namely the "IRA

 

6 While Citibank is seeking summary judgment/adjudication as to all claims
for relief in the Plaintiffs' compliant, for purposes of clarity it is going to address
them out of the order in which they are pled
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Account Agreemen ." Separate Statement, 1166.

Plaintiffs' breach of contract claim is fatally flawed Despite repeated
requests, Plaintiffs have never produced the purported contract between them and
Citibank7 Specifically, in their December 2009 responses to Citibank's Request for
Production of Documents, the Plaintiffs stated that they were "searching records for
documentation" in connection with the alleged contract. Separate Statement, 1168.
Despite this search, Naqvi has never produced a single document between himself
and Citibank. Separate Statement, 1169. In fact, during his deposition, Naqvi could
not remember what documents, if any, he ever filled out in connection with his
alleged IRA at Citibank, nor does he recall ever receiving any documents from
Citibank after he claims to have opened his IRA. Separate Statement, 1134. Further,
to the extent that Naqvi did receive any documents from Citibank he has either
"misplaced" them or no longer has them. Separate Statement, ,1169.

As for Walsh, the only writing he ever produced that even remotely pertains
to an alleged contract is the Rollover Form. Separate Statement, 1170.8 However, a
plain reading of the Rollover Form reveals that it is not a contract between Citibank
and Walsh to establish his IRA. Rather, it is a ministerial form used to request that
an institution send to Citibank the assets held in an IRA. Separate Statement,11 73.
In fact, the Rollover Form specifically states, "If you do not have an existing
Citibank IRA...you must also complete a Citibank IRA Application"-something
which Walsh readily admits that he never did. Separate Statement, 111163 and 73.

Finally, although the Rollover Form contains a "medallion guarantee"

 

7 Citibank does not have in its possession an IRA Account Application for
either Plaintiff from 2004 or 2005 which would be the written contract necessary to
open an IRA with Citibank. Separate Statement, 1167.

8 Both Walsh and Mrs. Walsh confirmed that they have produced all
documents they have in connection with the alleged Citibank IRA. Separate
Statement, 1171. Walsh's counsel even confirms this on the record during Mrs.
Walsh's deposition Separate Statement, 1172.

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purportedly signed by Kenney, this signature simply guarantees to the transferring
institution that Walsh's signature on the document is genuine Separate Statement,
1174. l\/Iore importantly, Section 6- of the Rollover Form does not contain a signature
from an authorized Citibank employee to advise the transferring institution that
Citibank has, in fact, accepted the transferring Walsh IRA account as a "Successor
Trustee". _

Based on the above, Citibank is entitled to judgment on the Plaintiffs' claim
for breach of contract because there is no evidence that a contract was ever entered
into with Citibank. Plaintiffs' failure to produce contracts evidencing their IRAs
with Citibank is fatal to the remainder of their claims as well.

V
ALL OF PLAINTIFFS' TORT CLAIMS ARE BARRED
If the Court determines that Citibank is not entitled to judgment as a matter of

 

law on the Plaintiffs' claim for breach of contract, Citibank respectfully moves for
summary adjudication as to the first claim for relief for breach of fiduciary duty, the
second claim for relief for negligence, the third claim for relief for negligent
misrepresentation, the fourth claim for relief for intentional misrepresentation, the
sixth claim for relief for failure to train and supervise, and the ninth claim for relief
for tort of another. All of these tort claims are based on an alleged breach of contract
and are barred as a matter of law.

The Plaintiffs claim that Citibank breach contractual duties that were owed to
them as a result of their opening IRA accounts at Citibank. Complaint 11 121. Tort
causes of action do not lie for this alleged breach of contract because conduct that
constitutes a breach of contract cannot support tort claims "Contract and tort are
different branchesof law," and the differences between those branches "give rise to
distinctions in assessing damages." Applied Equipment Corp. v. Litton, 7 Cal.4th
503, 514-515 (1994). A plaintiff may not circumvent the distinctions between

contract and tort by claiming that conduct constituting a breach of contract also
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satisfies the elements of a tort. The California Supreme Court has affirmed tort
recovery only where the "tortious" conduct was separate from the breach of contract
itself. Rol)inson Helz`copter Company, Inc. v. Dana Corp., 34 Cal. 4th 979, 990
(2004).

Here, the allegedly tortious conduct was not separate or independent from the
alleged breach of contract. On the contrary, the Plaintiffs' tort claims are based on
the exact same claim for breach of contract. F or example, in Paragraph, 123 of the
Complaint the Plaintiffs expressly state that their breach of contract claim is based
on their previous allegations in the Complaint that Citibank, "improperly and
imprudently" managed and invested their supposed IRAs. This is nothing more than
an unabashed rehash of the claims that Citibank did not perform its obligations
under the agreements governing the accounts Indeed, the Plaintiffs cannot prevail
on their tort claims without proving that Citibank breached its contract with them.
Thus, under well-established authority, the Plaintiffs' attempt to enforce their
contractual rights through tort claims fails as a matter of law.

VI
THE CLAIM FOR BREACH OF FIDUCIARY DUTY HAS NO MERIT

Plaintiffs’ claim for breach of fiduciary duty is based on an allegation that
Citibank became their IRA custodians or trustees when they “rolled over” their
IRAs. Complaint, 1111 39-40, 62-63. According to the Plaintiffs, Citibank violated its
fiduciary duties as an IRA custodian because it allowed Plaintiffs to invest in
OCPIN. Complaint 1111 64-65.

The existence and scope of fiduciary duties are questions of law. Kirschner
Brothers Oil, Inc. v. Natomas, 185 Cal.App.3d 784, 790 (1986). Plaintiffs must
prove the existence of a fiduciary relationship, its breach, and damage caused by the
breach. Apollo Capital Fund LLC. v. Roth .Capital Partners, 158 Cal.App.4th 226,
244 (2007); LaMonte v. Sanwa Barzk of Calz'forrzia, 45 Cal. App. 4th 509, 517 (1996).

Mere allegations that one “agreed” to perform as a fiduciary are not sufficient
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Roderzberg v. Chiropractic Journal, 2009 U.S. Dist. _LEXIS 118869, *12-13
(S.D.Cal. 2009) (dismissing fiduciary duty claims because there was no showing the
defendant knowingly undertook obligations of a fiduciary and the complaint lacked
facts to establish a fiduciary relationship had been formally entered into).
Conclusionary allegations that an individual “solicited vand sold ” an investment or
“was acting on another person’s behalf” do not establish a fiduciary relationship
Apollo at 245-246.

Plaintiffs cannot establish the existence or breach of fiduciary duties on the
part of Citibank for several reasons First, as noted above, Plaintiffs have not
produced a written agreement establishing any such relationship between
themselves and Citibank. IRAs are tax deferred accounts Their creation is
governed by the Internal Revenue Code (“IRC”), and Section 408 of the IRC
requires that IRAs be created by written instrument See, 1, Canan, Qualified
Retiremerzt Plans, § 4:10, p. 408 (2010-2011 Ed. ) (an IRA must be a trust created
by a written instrument).

IRA custodians are not fiduciaries pre se. Cowburn v. Leventis, 619 S.E. 2d
43 7, 451 (2005) (neither the terms of the customer’s IRA custodial agreement nor a
plain reading of IRC section 408 created a fiduciary duty between the customer and
the defendant bank); Hirzes v. Fiserv, Inc., 2010 U.S. Dist. LEXIS 39896, *9
(M.D.Fla. March 25 , 2010) (IRC section'408 imposes no duties on IRA custodians);
Matkirz v. Fidelity Natiorlal Barzk, 2002 U.S. Dist. LEXIS 27571, *9 (D.S.C. July 11,
2002) (Section 408 does not impose a duty of care on an IRA custodian to prevent a
customer from making unwise investment decisions). An IRA established in
accordance with IRC section 408 limits the custodian's duties to ministerial
functions such as ensuring that the contributions to the account are in cash, the
contributions do not exceed the maximum amount permitted each year, the funds are

not commingled or invested in life insurance proceeds, and that the interest in the

account is non-forfeitable Blankenship v. Lil)erzy Lz`fe, 486 F.3d 620, 626 (9th Cir.

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Accordingly, any duties over and above the ministerial duties prescribed by
IRC section 408 must be set forth in a written agreement Brown v. California
Pensionl Administrators, 45 Cal.App.4th 333, 348 (1996) (summary judgment
affirmed in favor of defendant where documents governing relationship provided for
only limited fiduciary duties); Varz de Kamp v. Bank of America, 204 Cal.App.3d
819, 860 (1988) (bank’s duties over a custodial account limited to scope set forth in
the parties’ agreement). Because there is no written agreement between the
Plaintiffs and Citibank, there is no evidence that Citibank owed Plaintiffs any
fiduciary duties ’ v

Along the same line`s, deposits in a bank are presumed to be general unless
there is a specific agreement to the contrary evidencing the intent by both the
customer and the bank that the deposit is a special deposit The burden is on the
depositor to overcome this presumption Goldblatt v. FDIC, 105 F. 3d 1325, 1328
(9th Cir. 1997). In Goldl)latt, a customer of an insolvent bank claimed that because
he had an IRA with the bank his account was a special deposit and he was entitled to
fiduciary duties that required he receive a priority payout from the FDIC, Id. At
1327. While the Court found that special deposits constitute a trust relationship
wherein the bank owes a fiduciary duty to the depositor, it needed to review the
Custodial Agreement to determine whether the parties had, in fact, entered into a
trust-type relationship invoking the fiduciary duties claimed by`the plaintiff Id. at
1329. Upon review of the Custodial Agreement, the court concluded that the
customer had not met his burden to establish that the account was a special deposit
because the Custodial Agreement did not create such an account and explicitly
carved out any fiduciary duties on behalf of the bank. Id.

Second, the Rollover Form produced by Walsh did not establish a fiduciary
relationship. A half completed request from one institution to another to transfer

funds is not a contract Walsh's Rollover Form, in and of itself, did not impose any
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DEFENDANTS' MOTION FOR SUMMARY lUDGl\llENT/ADIUDICATION

 

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obligations on Citibank, let alone fiduciary obligations In fact, it is not even signed
by anyone at Citibank acknowledging that Citibank has, in fact, accepted the
transferring Walsh IRA as Walsh's Successor Trustee. Walsh was responsible for
opening an IRA account that conformed to his wishes Holtz v. J.JB. Hilliard, 1
F.Supp.2d 887, 894-895 (S.D.Ind. 1998) (IRA trustee owed customer no duty to
take make sure the account documentation conformed with the customer’s estate
plan); Roserzthal v. Great Western, 14 Cal. 4th 394, 425(1996) (fiduciary obligations
of broker do not extend to orally alerting the customer to certain provisions of the
custodial agreement). It isclear that he never did so'.

Third, there is no evidence Citibank assumed control of Plaintiffs' funds in the
capacity of an IRA custodian. A key factor in establishing the existence of a
fiduciary relationship lies in control by the purported fiduciary over the property of
another. In Apollo Capital Fund LLC. v. Roth Capital Partners, 158 Cal.App.4th
226 (supra) investors sued a broker-dealer that agreed to raise funds for a stock
offering. The Court found that there was no fiduciary relationship between the
broker-dealer and the investors for two reasons First, the investors were not
customers of the broker-dealer. The broker acted as a “placement agen ” of the
company for which it agreed to raise funds The Court held that no broker-customer
relationship was created when the investors placed their money with the company
and that a fiduciary relationship could not be inferred simply because of the
defendant’s status as a broker. Id. at 245. Second, the court found there was no
fiduciary duty because there was no evidence the broker-dealer had control over the
plaintiffs' property. The plaintiffs conceded their funds were placed directly with
the company and only passed through the broker-dealer. The court held that the
mere placing of a trust in another person does not create a fiduciary relationship Id.
at 245 -246.

The same is true here. Citibank never had control over Plaintiffs' money

because Plaintiffs chose to deposit their money directly into the OCPIN Account
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DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADIUDICATION

 

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Walsh followed the wire instructions he received from Carpe, and instructed
Vanguard to liquidate his lRA and deposit the funds into the OCPIN Account
Separate Statement, 1175. There is no evidence at all that Naqvi ever deposited funds
with Citibank. Separate Statement, 1178. Any self-serving claim that Plaintiffs
placed their trust in Citibank is irrelevant in the absence of any evidence that
Citibank assumed responsibility for their funds

Finally, there is no evidence that Citibank ever agreed to become Plaintiffs'
investment advisor. But even if it had, 'a fiduciary relationship does not exist
between a customer and 'an investment advisor unless the customer retained the
agent to “advise him in connection with his investments.” Twomey v. ]\/_/itchum,
Jones and Templeton, Inc., 262 Cal.App.2d 690, 708-709 (1968). No fiduciary duty
exists between a stockbroker and a customer prior to the existence of a contractual
relationship Rosenthal v. Great Western, 14 Cal.4th 394, 425 (1996). At best,
Naqvi and Walsh may have thought about opening IRA accounts with Citibank in
2004 and 2005 (although they never actually did so), but it is clear they did not
retain Citibank to provide them with investment advice. Separate Statement, 1179.
In fact, both Plaintiffs testified they had already decided to invest in OCPIN before
they even crossed the threshold of Citibank's office. Separate Statement, 1180.
Plaintiffs did not retain Citibank to "advise them" in connection with their OCPIN
investments

VII
THE CLAIM FOR NEGLIGENCE HAS NO MERIT

To prevail in a negligence action, a plaintiff must show that the defendant
owed a legal duty, the defendant breached that duty, and the breach proximately
caused injury to the plaintiff Garcia v. W&W Community Develop)nent, 186
Cal.App.4th 1038, 1044 (2010). Absent a legal duty, any injury is an injury without
actionable wrong. Id. Thus, an essential prerequisite to a negligence claim is the

existence of a duty. Brown v. California Pensz'on Administrators, 45 Cal.App.4th
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333, 346 (1996). Being a question of law, duty is particularly amenable to
resolution by summary judgment Garcia, at 1044-1045.

Citibank did not owe any common law duties of care to Plaintiffs arising out
of the fact that the OCPIN Account was maintained at Citibank. A bank’s basic
duty of care in its transactions with it customers arises out of the bank’s contract
with its customer. Rodriquez v. Bank of the West, 162 Cal.App.4th 454, 460 (2008)
(allegations that a person was a “putative customer” of a bank not sufficient to
establish a bank-customer relationship). Absent extraordinary and specific facts, a
bank owes no duty of care to non-customers Software ~Design and Application,
LTD, v. Hoefer & Arnett, Inc. 49 Cal .App. 4th 472, 478-479 (1996) (existence of
duty of care toward another worthy of legal protection is essential prerequisite to
negligence, which is determined as a matter of law by the court); Scott v. Branch
Banking and Trust, 588 F.Supp.2d 667, 673 (W.D.V.A. 2008) (bank owes no duty
of care to third party that deposits funds into one of its customer’s accounts).

There are no extraordinary or specific facts that would create a duty of care
on the part of Citibank in favor of Plaintiffs At best, Plaintiffs were customers of a
customer, i.e., OCPIN. The money Plaintiffs deposited was to OCPIN's account,
not to any account in their name. As a matter of law, Citibank owed no common
law duty of care to them.

VllI
THE CLAIMS FOR NEGLIGENT AND INTENTIONAL
MISREPRESENTATION I-lAVE NO l\/[ERIT

 

The elements of a claim for negligent misrepresentation are: (1) defendant
made a representation as to a past or existing material fact; (2) defendant made the
representation without any reasonable ground for believing it to be true; (3) the
representation was made with intent to induce plaintiff to rely upon it; (4) plaintiff
was unaware of the falsity of the representation and must have justifiably acted in

reliance upon the truth of the representation; and (5) as a result of the reliance upon
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the truth of the representation, plaintiff sustained damage Glenn K. Jackson Inc. v.
Roe, 273 F.3d 1192, 1201, fn. 2 (9th Cir. 2001) (applying California law).

The elements of a claim for intentional misrepresentation are: (1) a material
representation was made; (2) the representation was false; (3) defendant knew the
representation was false or did not have sufficient knowledge to warrant a belief that
it was true; (4) the representation was made with an intent to induce plaintiff to act
in reliance thereon; (5) plaintiff reasonably believed the representation to be true; (6)
the representation relied upon by plaintiff; and (7) plaintiff suffered damage thereby.
Hobart v. Hobart Estate Co., 26 Cal.2d 412, 422 (1945).

Plaintiffs' claims for negligent and intentional misrepresentation fail because
there is no evidence that any misrepresentation was made and the evidence belies
any claim of reliance. The gravamen of the misrepresentation claim is set forth in
paragraphs 35 and 36 of the Complaint, which allege that Citibank advised Naqvi
and Walsh that OCPIN was a "prudent and advisable" investment The evidence,
however, has established the exact opposite Naqvi admits he does not recall any
representative of Citibank ever telling him that he or she believed an investment in
OCPIN was a good investment Separate Statement, 1111 36, 82. The same is true for
Walsh. As described above, Walsh decided to invest in ()CPIN before he even went
to Citibank. Separate Statement, 1111 48 and 80. Moreover, he testified that at no time
during his meeting with Kenney and Amir did they even discuss his investment in
OCPIN, and nobody at Citibank told him that an investment in OCPIN was
"suitable" for him. Separate Statement, 11 58.

Plaintiffs' misrepresentation claims fail for another reason. There is no
evidence that Plaintiffs relied on anything that Citibank told them when they
decided to invest in OCPIN. To be actionable, a representation must be such that,
without the representation, the plaintiff would not have entered into the transaction.
Spinks v. Clark 147 Cal. 439, 444 (1905). Both Plaintiffs have admitted in their

depositions that their respective decisions to invest in OCPIN were made before
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they ever spoke with Kenney or Amir. Separate Statement, 1111 38, 48 and 80. For
example, by the time Naqvi claims to have gone to Citibank to rollover his Putnam
IRA he had already invested $500,000 into OCPIN's predecessor (CCPIG) and was
a core member of OCPIN handling the daily affairs of the company. Separate
Statement, 1111 6, 22 and 28. Naqvi could not have reasonably relied on anything
allegedly said by Kenney and Amir because he was an insider of the company. If
anybody knew how the company was doing, it would have been Naqvi.

Walsh also made the decision to invest in OCPIN before speaking to anyone
at Citibank. Indeed, he decided to invest in OCPIN by July 31, 2005. Separate
Statement, 11 48. Walsh based his decision to invest on OCPIN, not on anything that
anyone from Citibank told him, but "just on the future of the hospital and being a
place where I already worked." Separate Statement, 111147, 52. Walsh was so
committed to investing in OCPIN that on July 29, 2005 , he signed and sent to Carpe
the OCPIN Membership Interest Purchase Agreement. Separate Statement, 1111 53,
55-57. He was contractually bound at that point to purchase the OCPIN shares,
which was before Mrs. Walsh went to Citibank on August 1, 2005, and before Dr.
Walsh went to Citibank on August 3, 2005.9

Moreover, reliance on a misrepresentation is not reasonable as a matter of law
if the plaintiff could have ascertained the truth through the exercise of reasonable
diligence Lopez v. U.S. Bank Nat’l Assn, 2010 U.S. Dist. Lexis 90301, *9. lt is
indisputable that Naqvi could have ascertained all relevant facts about OCPIN
because he was an insider and managed the affairs of the company. Walsh could

have ascertained the same information through the CCPIN Membership Interest

 

9 The Membership Purchase Agreement specifically states, among other
things, "[t]he parties both represent that Purchaser is acquiring the Interest after
private negotiation with OCPIN. Purchaser has not been attracted to acquire the
Interest through publication or any advertisement and this transaction is not being
effected through any securities broker or dealer or public offering." Separate
Statement, 11 55.

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Purchase Agreement, the Hospital Transaction Summary or his communications
with Carpe If Walsh did not see what was in front of him, it was because he did not
look. Plaintiffs' misrepresentation claims therefore fail as a matter of law.
IX
TI-IE CLAIM FOR VIOLATION OF SECURITIES LAW HAS NO MERIT

In the fifth claim for relief, Plaintiffs contend that Citibank is liable for
violation of Corporations Code sections 25235(a) and (b). Pursuant to this statute,
"[i]t is unlawful for any investment adviser, directly or indirectly, in this state: (a) To
employ any device, scheme, or artifice to defraud any client or prospective client" or
"(b) To engage in any transaction, practice, or course of business which operates or
would operate as a fraud or deceit upon any client or prospective client" Plaintiffs
contend that Citibank violated these provisions because it "recommended unsuitable
investments all in order to further the interests of OCPIN and Shah and to curry
favor with and aid them. . . ." Complaint, 11 105.

This claim fails for the reasons described above There is no evidence that
Citibank, through Amir and Kenney, undertook the role of "investment advisor" for
Naqvi or Walsh. Plaintiffs have already admitted that neither Amir and Kenney nor
any representative of Citibank made a misrepresentation concerning the suitability of
the OCPIN investments which they relied on in making their decision to invest in
OCPIN. The requisite elements of fraud, therefore, contemplated by the statute is
absent Furthermore, there is simply no evidence in this case (including Naqvi's and
Walsh's deposition testimony) to establish that Citibank and OCPIN were involved
in some sort of scheme to defraud the Plaintiffs Separate Statement, 1111 81, 84 and
85 . `

Accordingly, Citibank is entitled to judgment as a matter of law with respect
to this claim.

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DEFENDANTS' MOTION FOR SUMMARY JUDGMENT/ADJUDICATION

 

 

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X
THE CLAIMS FOR INADEOUATE TRAINING AND FOR AN ACCOUNTING
HAVE NO MERIT

Plaintiffs allege that Citibank owed a duty to Plaintiffs to properly train and
supervise its employees and breached this alleged duty by failing to do so.
Complaint1111 111-113. This claim is simply a subset of the breach of fiduciary duty
and negligence claims and has no merit for the reasons described above No
fiduciary relationship existed between Plaintiffs and Citibank Whether Citibank
adequately trained its personnel to perform fiduciary duties is therefore irrelevant
Citibank owed no common law duty of care to Plaintiffs because they were not
customers of Citibank and they decided to deposit their funds directly to OCPIN's
account Whether Citibank adequately trained its personnel to perform duties on
behalf of its customers is therefore likewise irrelevant because Naqvi and Walsh
were not customers of the bank with respect to the OCPIN account

Plaintiffs have also alleged a claim for an accounting against Citibank.
Complaint1111 116-117. This claim for relief fails as a matter of law. An action for
an accounting must be based on some sort of relationship between the plaintiff and
the defendant that requires an accounting Teselle v. McLoughlin, 173 Cal.App.4th
156, 179 (2009). For all of the reasons stated above, there was no such relationship
between Plaintiffs and Citibank.

XI
THE CLAIM BASED ON "T()RT GF ANOTHER" HAS NO MERlT

ln the Complaint, Plaintiffs have alleged a claim styled as "tort of another".
According to Plaintiffs, any time a party is required to bring an action against one
party by virtue of the actions of another party, the plaintiff is entitled to an award of

attorneys' fees against the party committing the underlying misconduct Complaint,

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1111126-128. Under Plaintiffs' reasoning, since the Complaint names two defendants,-
-here Citibank, N.A. and Citibank (West) F.S.B.--and Plaintiffs have purportedly
been forced to bring an action against them because of the alleged misconduct of the
other, the tort of another rule applies

Plaintiffs' contentions reflect a profound misunderstanding of the law. Even
were Plaintiffs correct that Citibank committed any of the alleged torts in this matter
~ and Citibank strongly denies this -- the tort of another doctrine does not allow a
party to recover the fees and costs involved in litigating directly with a tortious
defendant Gorman v. Tassajara Develop)nent Corp., 178 Cal.App.4th 44, 80
(2009). Here, despite the fact that two corporate iterations of Citibank have been
named in the Complaint, Plaintiffs have litigated this action directly with Citibank
as a whole and have made no distinction in their allegations between the two named
entities

ln short, naming two Citibank entities as co-defendants is simply a ploy by
which Plaintiffs hope to recover attorney fees However, the circumstances of this
case do not merit this and, as such, Citibank respectfully submits that this claim
should fail as a matter of law.

XII
ALL CLAIMS ASSERTED BY NAOVI ARE BARRED BY Tl-[E STATUTE OF
l LIMITATIONS IN ANY EVENT
For all of the foregoing reasons, Plaintiffs' claims have no merit and should be

dismissed In Naqvi's case, it is also important to note that his claims would be
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barred by statutes of limitation even if they had merit, which they do not

Naqvi's claims are based on the notion that he was misled by Citibank into
believing that OCPIN was a safe and secure investment and that he relied to his
detriment on Citibank's alleged misrepresentations Complaint, 11 35. However,
Naqvi testified at his deposition that he was a member of OCPIN in February 2005
when the Private Placement Memorandum ("PPM") was prepared by OCPIN's
counsel and approved by its members Separate Statement, 1111 17, 18. The PPM
contains fifteen pages (pp. 7-22) of "Risk Factors" that warn about the various risks
associated with an investment in OCPIN. On pages 23 and 24, the PPM outlines
eight separate categories of "Investor Suitability Standards." Naqvi admitted that he
reviewed the PPM, agrees with_ everything in it, and signed the document in
approximately February 2005 as a member of OCPIN. Separate Statement, 11 18.
Thus, even if there was some evidence to support Naqvi's claim that Citibank
mislead him into believing the OCPIN investment was "safe" (and there is none), he
clearly knew about all of the risk factors associated with an investment in OCPIN by
February 2005. Indeed, Naqvi admitted in_his deposition that he was on notice that
OCPIN may be a high risk investment when the PPM came out.' Separate
Statement, 11 65.

Naqvi filed this action on August 10, 2009, which is more than four years
after he admittedly knew OCPIN was not a suitable, low-risk, investment as was
supposedly represented to him by Citibank. All of Naqvi's claims are barred by

California statutes of limitation.10

 

10 State statutes of limitation are deemed "substantive" for Erz'e purposes

Federal courts therefore apply the same statutes of limitation as would be applied in
a state court Guaranty Trust Co. of New York v. York, 326 U.S. 99, 110 (1945).
The Complaint alleges nine causes of action by Naqvi against Citibank, each of
which is subject to a statute of limitations of four years or less: (1) breach of
fiduciary duty - four years (California Code of Civil Procedure ("CCP") Sec. 343;

In re Brocade Communications Systems, Inc. Derivative Lz'tigation, 615 F.Supp.2d
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MQ_N_
For the reasons described above, Citibank respectfully submits that its motion
should be granted
DATED: March 1 1, 201 1 FRANDZEL ROBINS BLOOM &
' CSATO, L.C.
By: /s/

 

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Attorneys for Defendants Citibank, N.A.
and Citibank (West), F.S.B.

 

1018 (N.D. Cal. 2009)); (2) negligence - three years (CCP Sec. 338(d); Landale-
Cameron Court, Inc. v. Ahonen (2007) 66 Cal.Rptr.3d 776); (3) negligent
misrepresentation - three years (CCP Sec. 338(d); Vazquez de Mercado v. Sup. Ct.
(2007) 148 Cal. App. 4th 711); (4) intentional misrepresentation - three years (CCP
Sec. 338(d); Id.); (5) violation of securities laws - three years (CCP Sec. 338(a)
(liability created by statute); (6) failure to train and supervise (i.e., negligence) ~
three years (CCP Sec. 338(d); (7) accounting - four years (CCP Sec. 343; Manok v.
Fishman (1973) 31 Cal.App.3d 208; (8) breach of written contract ~ four years
(CCP Sec. 337(1); Century Indemnity Co. v. Sup. Ct. (1996) 58 Cal.Rptr.Zd 69); and
(9) tort of another (i.e., negligence) - three years (CCP Sec. 338(d)).

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